                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:21-CV-221-RJC-DCK

 EQUAL EMPLOYMENT OPPORTUNITY                          )
 COMMISSION,                                           )
                                                       )
                 Plaintiff,                            )
                                                       )
 and CHRISTIN SMITH,                                   )
                                                       )
                 Plaintiff-Intervenor,                 )
                                                       )
    v.                                                 )       ORDER
                                                       )
 MODERN POLYMERS, INC.,                                )
                                                       )
                 Defendant.                            )
                                                       )

         THIS MATTER IS BEFORE THE COURT on the “Joint Motion For Entry Of Consent

Protective Order” (Document No. 24) filed September 21, 2021. This motion has been referred to

the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion and the record, the undersigned will grant

the motion.

         The parties move the Court for entry of this Joint Protective Order to expedite the flow of

discovery materials, facilitate the prompt resolution of discovery disputes, and protect certain

materials designated as confidential (“confidential materials”).

IT IS THEREFORE ORDERED THAT:

         1.     General Scope of the Agreement. This Joint Protective Order shall govern certain

documents and other material produced in response to any discovery request or other request for

information by Plaintiff, Plaintiff-Intervenor, and Defendant in this action, all information

contained therein, and all copies, excerpts or summaries thereof, specifically including, but not




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limited to, answers to requests for admissions, answers to interrogatories, responses to requests for

production of documents and documents produced in accordance therewith, documents

subpoenaed in connection with depositions and any deposition transcript or portion thereof as to

which protection is sought in accordance with this Agreement. The following documents and/or

information are intended to be designated as “Confidential” pursuant to this Order: (a) medical

records or other health-related information; (b) personal information about Defendants’

employees, including but not limited to: social security numbers, tax information, personnel

records, and health insurance information; and (c) confidential or proprietary business and personal

information, including but not limited to, income tax returns, balance sheets, profit and loss

statements.

       2.      Designation as Confidential. Any party producing or furnishing information of any

nature to another party, to the Court, or at a deposition in connection with this litigation, may

designate as “Confidential,” in accordance with the procedures set forth herein, any such

information, document or part thereof, interrogatory answer, response to request for admissions,

deposition testimony, excerpts and summaries of such information, or other materials that fall

within the categories as set forth in Paragraph 1 of this Agreement. Such designation shall be

made at the time the information in produced or furnished, or at a later time as provided herein.

       3.      Procedure for Designating Information as Confidential.        Parties may designate

confidential materials in the following manner:

               (a)     In the case of documents or other written materials, by affixing to each page

       of every such document, at the time of production, the word “Confidential” by stamp or

       other method which will make the word conspicuous;

               (b)     In the case of documents produced in native format, by including the word



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 “Confidential,” by stamp or other method which will make the word conspicuous, on a

 slip-sheet within the production identifying that the document is produced in native format

 and by including the word “Confidential” within the filename of the native file produced;

        (c)     In the case of answers to interrogatories, designation shall be made by

 placing the word “Confidential” adjacent to or at the end of any answer deemed to contain

 confidential information. Alternately, answers deemed to contain confidential information

 may be bound separately and marked with the word “Confidential”;

        (d)     In the case of depositions or other pretrial testimony in this action by the

 parties or any of their officers or employees, by a statement to that effect on the record by

 counsel for the party who claims that confidential material is about to be or has been

 disclosed, without prejudice to their right to so designate other testimony after reviewing

 the transcript. Unless the parties intend to designate all of the information contained within

 a particular document or deposition testimony as confidential material, counsel for that

 party should indicate in a clear fashion the portion of the document or testimony which is

 intended to be designated as confidential. Any party may, within fifteen days after

 receiving the transcript of the deposition or other pretrial proceeding, or such other time as

 agreed to by the parties, designate portions of the transcript, or exhibits thereto, as

 confidential

 4.     Restricted Use of Information.

        (a)     Documents/information       designated    as   “Confidential”    pursuant    to

 paragraphs 1 through 3 of this Order shall be used solely for the purposes of this action and

 shall not be disclosed to any person except the following individuals:




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                (i)      the Court (including the Clerk’s office, stenographic reporters and

        videographers, engaged in such proceedings as are necessary to the preparation for

        trial and trial of this action);

                (ii)     counsel for the parties, their staff members, their professional and

        para-professional employees;

                (iii)    any experts or service contractors (i.e., court reporters or outside

        photocopying or imaging services) associated by the parties regarding this action;

                (iv)     the parties, including officers or managers of a party who have a

        need to know the information for purposes of this litigation;

                (v)      the Charging Party for whom the Commission seeks relief in this

        case, or

                (vi)     the author or recipient of a document containing the information or

                         a custodian or other person who otherwise possessed or knew about

                         the information;

                (vii)    mediators engaged by the parties and the mediators’ staff;

                (viii)   any person from whom testimony is taken or is to be taken, expect

                         that such a person may only be shown confidential information

                         during or in for his/her testimony, and may not retain the

                         confidential information;

                (ix)     by mutual consent.

        (b)     Documents produced pursuant to this Order shall not be used for any

 purpose other than evidence in this litigation and may not be disclosed under any

 circumstances to anyone not connected with this action as a party, witness, counsel,



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       consultant, staff person or court personnel. Specifically, use of confidential material during

       the trial of this action or in any hearing in connection with the disposition of this matter by

       any party shall in no way permit the use of such material for or in connection with any

       other lawsuit, action, hearing or proceeding, without further order of the Court, express

       agreement by both parties, or pursuant to a subpoena.

       5.       Acknowledgment of Agreement. All persons to whom confidential material is

disclosed pursuant to paragraph 4 of this Order shall be bound by this Order. It shall be the

responsibility of counsel for each party to this action to ensure that persons authorized to receive

confidential material pursuant to paragraph 4 of this Order have knowledge of the terms of this

Order and agree to be bound by them. Any persons breaching the provisions of this Order are

subject to the contempt powers of this Court.

       6.      Inadvertent Disclosure.     In the event a party inadvertently produces materials

which should have been, but were not, marked “Confidential,” the party may designate such

materials as “Confidential” by notifying counsel of the error and producing the documents again,

with the “Confidential” designation, prior to the expiration of the discovery deadline set by the

Court. The parties will then treat these documents as if they had been marked “Confidential” when

they were first produced.

       7.      Use of Confidential Materials in this Case. Nothing in this Agreement shall prevent

or impair the use by a party of confidential materials as set forth in paragraphs 1 through 3 of this

Agreement in proceedings in this litigation, including motion papers, affidavits, briefs, other

papers and depositions filed with the Court or at any deposition, or hearing, conference, or trial

before the Court so long as confidentiality of such information is protected as provided herein. To




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the extent any confidential material is filed with the court, counsel filing the confidential material

shall file it under seal in accordance in accordance with Local Rules.

       8.      Challenging Confidentiality. Acceptance by a party of any information, document

or thing identified as “Confidential” pursuant to this Order shall not constitute a concession that

the information, document or thing is confidential material. Counsel for the parties shall serve

written notice of any objections to specific designations upon the other party within twenty (20)

days of receipt of such information, documents or things. Counsel shall first attempt to resolve

any disputes of confidentiality between themselves. If Counsel are unable to agree on any such

issue, counsel seeking protection of a document must bring the issue before the Court within

twenty (20) days of receipt of any written notice of any objections. No disclosure of such

information shall occur pending resolution of any dispute under this paragraph.

       9.      Right to Object. Notwithstanding the foregoing provisions, this Order shall not

prejudice the right of any party to object to discovery on other grounds. Any party may, upon

reasonable notice to the opposing party’s counsel, move for an order relieving it of the provisions

of this Order for good cause shown. All parties retain the right to apply to the Court for an order

affording additional protection to confidential material as the circumstances may warrant. Nothing

contained herein shall prevent a party from seeking modification to this Order.

       10.     Disclosure.

               (a)     Nothing contained herein shall prevent a party from disclosing, revealing or

       using any documents, material or other information which is already lawfully in the

       possession of that party or which that party lawfully obtains from any source other than the

       opposing party, and this Order shall not otherwise apply to such documents, material or

       other information.



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               (b)     Nothing in this document shall prevent any party from producing any

       document or information in his, her, or its possession in response to a lawful subpoena or

       other compulsory process, provided that notice shall be given to the other party prior to the

       date that the party subpoenaed is required to respond to the subpoena or other compulsory

       process in which materials designated confidential are sought.

       11.     Return, Destruction and Retention by Counsel of Confidential Information. All

confidential material shall be returned to the producing party or destroyed within ninety (90) days

of the conclusion of this civil lawsuit, including conclusion of any appeal, or may be destroyed in

accordance with each party’s document retention procedures and in the normal course of business.

Counsel of record for the parties may retain copies of any part of the Confidential material

produced by others that has become part of counsel’s official file of this litigation as well as

abstracts or summaries of materials that reference Confidential material or Protected Documents

that contain counsel's mental impressions or opinions. Such copies shall remain subject to the

terms of this Protective Order.

       The ultimate disposition of protected material will be subjected to a final order of the court

on completion of this litigation.

       12.     Modification of the Agreement. If any of the parties hereto believe that this

Agreement unreasonably impedes discovery to a party or the use of information discovered from

a party for purposes of this litigation, or provides insufficient protection regarding discovery

materials produced by a party, such party may serve notice upon the parties and request the Court

modify this Agreement.

       13.     Protection of Copies. All copies, extracts or summaries prepared from confidential

materials produced hereunder shall be subject to the same terms of this Agreement as the



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confidential material from which such copies, extracts or summaries were prepared, if properly

designated.

       14.     Notices. Notice required under this Agreement shall be in writing and provided to

the attorneys for the parties listed below. Notice to the parties shall be adequate if given solely to

the parties’ counsel of record.

       15.     Effective Date. This Agreement shall be effective immediately and shall survive

the conclusion of this lawsuit.

       SO ORDERED.


                                          Signed: September 22, 2021




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AGREED TO:

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